       Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 1 of 47




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

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UNITED STATES OF AMERICA,                Civil Case No.: SA15CA0957XR
STATE OF CALIFORNIA,
STATE OF COLORADO,
STATE OF FLORIDA,
STATE OF LOUISIANA,
STATE OF MONTANA,
STATE OF NEVADA,                         FIRST AMENDED COMPLAINT
STATE OF NEW MEXICO,
STATE OF WASHINGTON,
ex. rel. ERICA ZELICKOWSKI,

           Plaintiffs,

vs.                                      JURY TRIAL DEMANDED

ALBERTSONS LLC.

           Defendant.

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           Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 2 of 47



                                       INDEX
                                                                             Page

I.     Introduction………………………………………………………………….. 4

II.    Jurisdiction and Venue………………………………………………………. 5

III.   Parties……………………………………………………………..…………. 6

IV.    Procedural History………………………………………………………….... 7

V.     Medicaid Usual & Customary Law..……………………………………........ 7

VI.    Medicare Part D Usual & Customary Law.……….………………………… 16

VII.   Tricare and other Federal Payer Programs ………………………………….. 26

VIII. Drug Discount Programs and Albertsons’s Fraudulent Actions ……………. 28

IX.    Relator’s Knowledge of the Fraud..………………………………………….. 32

X.     Particularity of Defendant’s Illegal Overbilling …………………………….. 33

Count I        Violations of the Federal False Claims Act ………………………….. 36
               Medicaid, Tricare and Other Federal Programs

Count II       Violations of the Federal False Claims Act…………………………... 37
               Medicare Part D Program

Count III      California False Claims Act……………………………………….…. 40

Count IV       Colorado Medical False Claims Act…………………………….…… 41

Count V        Florida False Claims Act……………………………………..………. 41

Count VI       Louisiana Medical Assistance Programs Integrity Law…………........ 42

Count VII      Montana False Claims Act………………………………………….... 43

Count VIII     Nevada False Claims Act…………………………………………..… 44

Count IX       New Mexico…………………………………………………….......... 45


                                          2
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 3 of 47



Count XI     Washington State Medicaid Fraud False Claims Act.…………........... 45

Prayer for Relief…………………………………….................................................. 46

Jury Demand…………………………………………………………………............ 47




                                          3
            Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 4 of 47



                                 I.      INTRODUCTION

       1.       This is a False Claims Act case brought under the Federal False Claims

Act, 31 U.S.C. § 3729, et seq., and the false claims acts of the Plaintiff-States. It is

brought by Plaintiff-Relator Erica Zelickowski, through her undersigned attorneys, on

behalf of the United States of America (or the “federal government”), the states of

California, Colorado, Florida, Louisiana, Montana, New Mexico, Nevada and

Washington (collectively “the states”).

       2.       This case involves illegal overbilling by Defendant Albertsons LLC

(hereinafter referred to as “Albertsons”) to the federal government and states in the

Medicaid program, and to the federal government in the Medicare Part D, Tricare,

CHAMPVA, Federal Employees Health Benefit Program (“FEHBP”), United States

Military Healthcare Facilities, the Indian Health Service Facilities and to public health

clinics programs. Beginning sometime prior to 2013, Albertsons began a successful

marketing campaign to lure customers, offering them deep discounts for a large variety of

generic drugs through a “club” program. These inexpensive, discounted prices

established the “Usual and Customary” prices for these generic prescription drugs.

Federal health care laws for these programs and the laws of the Plaintiff-State

governments mandated that the governments were not to be charged more than the

“Usual and Customary” prices for these drugs. The laws and contracts of the Medicare

Part D and MA-PD drug programs also legally mandated that Albertsons provide its

lower club prices for generic drugs. Despite these laws and contracts, Albertsons

knowingly charged the Plaintiff-States substantially more for these generic drugs in the

                                               4
            Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 5 of 47



government funded programs, thereby wrongfully overcharging the Plaintiff-States in

violation of the false claims acts.

                           II.    JURISDICTION AND VENUE

       3.       This is a civil action arising under the laws of the United States to redress

violations of the False Claims Act, 31 U.S.C. §§ 3729 et seq. This court has jurisdiction

over the subject matter of this action: (i) pursuant to 31 U.S.C. § 3732, which specifically

confers jurisdiction on this Court for actions brought pursuant to 31 U.S.C. §§ 3729 and

3730; (ii) pursuant to 28 U.S.C. § 1331, which confers federal subject matter jurisdiction;

and (iii) pursuant to U.S.C. § 1345, because the United States is a Plaintiff.

       4.       This suit is not based upon prior public disclosures of allegations or

transactions in a criminal, civil, or administrative hearing, lawsuit or investigation or in a

Government Accounting Office or Auditor General’s report, hearing, audit or

investigation, or from the news media.

       5.       To the extent that there has been a public disclosure unknown to Relator,

Relator is an original source under 31 U.S.C. § 3730(e)(4), and the other government

false claims statutes. She has direct and independent knowledge of the information on

which the allegations are based and has voluntarily provided the information to the

government before filing this qui tam action.

       6.       Relator has provided to the Attorney General of the United States, to the

United States Attorney for the Western District of Texas, and to the appropriate attorney

for the other Plaintiff-States, a statement summarizing known material evidence and



                                               5
            Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 6 of 47



information related to this Complaint, in accordance with the provisions of 31 U.S.C.

§ 3730(b)(2) and the similar provisions of the other government false claims acts.

       7.       This court has jurisdiction over Albertsons under 31 U.S.C. § 3732(a)

because Albertsons can be found in, is authorized to transact business in, and is now

transacting business in the Western District of Texas. In addition, acts proscribed by

31 U.S.C. § 3729 have occurred in this District.

       8.       Venue is proper in the Western District of Texas under 31 U.S.C. § 3732(a)

and 28 U.S.C. § 1391, because Albertsons conducts business in this District and, upon

information and belief, the acts giving rise to this action occurred within the District.

       9.       This Court has supplemental jurisdiction over the false claims act claims of

the other Plaintiff-States pursuant to 28 U.S.C. § 1367. This federal court jurisdiction

over state law false claims is further authorized by 31 U.S.C. § 3732(b).

                                      III.   PARTIES

       10.      Defendant Albertsons LLC is a nationwide retail grocery and pharmacy

corporation headquartered at 250 Parkcenter Blvd, Boise, Idaho 83706. Albertsons LLC

and New Albertsons (collectively “Albertsons”) is owned by AB Acquisition LLC

(“AB”) and is controlled by a Cerberus Capital Management, L.P. (“Cerberus”) led

investor group, which also includes Kimco Realty Corporation (NYSE:KIM), Klaff

Realty LP, Lubert-Adler Partners LP, and Schottenstein Stores Corporation. Cerberus is

an American private-equity firm, headquartered at 875 Third Avenue, New York City,

New York. Albertsons has been in the retail-grocery business since 1939 and has gone

through multiple sales and acquisitions, and was sold to AB on January 10, 2013. On

                                              6
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 7 of 47



January 30, 2015, AB purchased Safeway Inc. and merged it with Albertsons resulting in

Albertsons owning and operating approximately 2,400 locations. On its website,

Albertsons boasts 2014 annual sales of $23 billion (prior to the Safeway acquisition).

Albertsons has at least 2,000 retail pharmacy stores in 16 different states. Albertsons is

estimated to be the 5th largest pharmacy chain in the United States.

       11.    Relator Erica Zelickowski graduated from the University of Southern

Nevada Pharmacy School in 2009 with a Doctorate of Pharmacy. Relator is a licensed

pharmacist, having been originally licensed in Nevada in August 2009. Prior to her

employment with Albertsons, Relator worked at Walgreens Co. as an intern pharmacist

and pharmacist and as a Pharmacy Manager for Walmart. Relator began her employment

with Albertsons on January 7, 2013 (when it was still SUPERVALU). Currently Relator

is not working for Albertsons.

                           IV.    PROCEDURAL HISTORY

       12.    When Relator filed this Action, there was a related action pending in the

Central District of California. See CV15-00449-CAS(KK). That California action has

since been dismissed, and this is now the only pending action.

                 V.     MEDICAID USUAL & CUSTOMARY LAW

       13.    When reimbursing for drugs, the federal-state Medicaid program mandates

that the Medicaid program shall pay the lower of (1) the estimated acquisition cost

(“EAC”) of covered drugs, plus a reasonable dispensing fee, or (2) a provider’s usual and

customary (“U&C”) charges to the general public. 42 C.F.R. § 512(b).



                                             7
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 8 of 47



       14.    While the specific reimbursement formulas vary from state to state, the

state Medicaid programs reimburse pharmacy providers for each drug based on the

lowest of (a) the Estimated Acquisition Cost (“EAC”) as set by the states, (b) the

Maximum Allowable Cost (“MAC”) set by the State Medicaid agency or (c) the

provider’s usual and customary charge. For generics (a/k/a “multiple source drugs”)

subject to a Federal Upper Limit (“FUL”), state Medicaid agencies must not pay more

than those limits. Id. at 512(a).

       15.    Albertsons, as a retail pharmacy selling drugs to Medicaid customers, has

entered into Medicaid provider agreements with state Medicaid agencies in which it has

agreed to comply with all Medicaid state and federal laws. Entering into these agreements

and obeying them are conditions to payment of claims for drugs. Attached are samples of

such provider agreements for the states of Idaho, Texas and California. See Exhibits 1, 2,

and 3, respectively.

       16.    Submission of claims by pharmacy providers such as Albertsons to the

Medicaid agencies are made electronically, in real time. Protocols for this transmission

have been created by an ad hoc standards organization called the National Council for

Prescription Drug Programs, Inc. (“NCPDP”). Each claim is a separate transaction. The

NCPDP standard specifies the information that must be transmitted and in which fields

the data must be entered. This is accomplished by the computer software in the

pharmacy as the information is entered or calculated. When the claim is so submitted,

the Medicaid agency receives the claim, and in a few seconds either accepts or rejects it.

If the claim is accepted, the Medicaid agency transmits a message back to the pharmacy

                                             8
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 9 of 47



that acknowledges the acceptance of the claim, assigns it a unique reference number and

processes it for payment in the next cycle – usually in a few weeks. These protocols have

been in place for decades, and are occasionally updated. The pharmacy’s Usual and

Customary price is a mandated datum. It is entered into the computer system in the

pharmacy, is included in the claim submission, and is considered by the Medicaid

agency’s computer system in calculating the proper reimbursement.

       State Medicaid Reimbursement Methodologies

       17.    Federal Medicaid rules and the pertinent state Medicaid rules mandate that

a provider be reimbursed the usual and customary (U&C) charge. For example, in Idaho

(the headquarters state for Albertsons) the Idaho Department of Medicaid mandates that

pharmacies must bill their usual and customary charges, defined as the lowest charge by

the provider to the general public for the same service, including advertised specials.

Idaho Medicaid’s billing restrictions are clearly stated in Idaho Administrative Code

16.03.09. 665:

              Prescription Drugs: Provider Reimbursement

              Prescriptions not filled in accordance with the provisions of
              Subsection 664.02 of these rules will be subject to
              nonpayment or recoupment.

              Billed Charges. A pharmacy's billed charges are not to
              exceed the usual and customary charges defined as the lowest
              charge by the provider to the general public for the same
              service including advertised specials. Id. at 03. (Emphasis
              added).

Most other states have similar requirements in their Medicaid regulations, so as to be in

compliance with 42 C.F.R. § 447.512(b).

                                             9
           Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 10 of 47




       18.     In Texas, Texas Administrative Code section 355.8541(a) (1) mandates that

Medicaid in Texas (administered by the Texas Health and Human Services Commission

[“HHSC”]), will reimburse pharmacies for the lesser of (1) HHSC’s best estimate of

acquisition costs (“EAC”) plus HHSC’s currently established dispensing fee for

prescriptions, (2) the usual and customary price charged the general public, or (3) gross

amount due, if provided.

       19.     The Texas Medicaid program defines usual and customary prices as

follows:

               Rule § 355.8544 Usual and Customary Prices

               (a) The usual and customary price is the price the provider
               most frequently charges the general public for the same drug.
               If the department cannot determine a most frequent price, the
               median price is used. Items that the provider must consider
               when determining the usual and customary price include the
               following:

               (1) The term general public does not include any person
               whose prescriptions are paid by third-party payers, including
               health insurers, governmental entities, and the Texas Medical
               Assistance (Medicaid) program.

               (2) When a discount is given (including, but not limited to,
               cash rebate, monetary price discount, coupon of value) or
               advertised for any segment of the general public, the discount
               must be included in the usual and customary price
               determination for Medicaid prescriptions of the Medicaid
               recipient would otherwise have qualified as a member of that
               same segment of the general public. Some providers give
               discounts to non-Medicaid customers based on requirements
               similar to those specified in subparagraphs (A) and (B) of this
               paragraph. Providers must not use the following types of
               requirements as reason to disqualify Medicaid recipients as


                                             10
           Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 11 of 47



               members of the same segment of the general public receiving
               the discount:

               (A) possessing or presenting a special identification card or
               document, or making a verbal request for a discount;

               (B) paying for the prescription by a particular method.

               (b) If a provider utilized one pricing policy for cash recipient
               and a different pricing policy for charge recipient, the lower
               of the two pricing policies is the provider’s usual and
               customary price.

       20.     Attached as Exhibit 4 is a May 16, 2008 letter of the Texas Health and

Human Services Commission where it expressly warned CVS (another national

pharmacy chain) that it should be giving Medicaid the benefit of their cash discount

program, which was patterned after the program of competitor Walmart. Clearly

Medicaid expects the discounted prices provided in cash discount programs.

       21.     Every state’s Medicaid drug reimbursement methodology provides for

reimbursement of the ingredient cost of the drug and, in certain circumstances, a

dispensing fee.

       22. The following list describes the methodology for reimbursing the ingredient

cost and dispensing fee in those states that include “usual and customary” charges as part

of their reimbursement methodology. The dispensing fee is typically in the range of three

to five dollars per transaction. For ease of reference the state Medicaid reimbursement

formulas for the states in which Albertsons does Medicaid business (except for Arizona)

are listed in addition to Idaho and Texas above. These are the abbreviations used in this

section:


                                              11
 Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 12 of 47



     • Average Wholesale Price: AWP

     • Federal Upper Limit (as defined by the Centers for Medicare and
       Medicaid Services [“CMS”]): FUL
     • Maximum Allowable Cost (as defined by the State): MAC

     • Estimated Acquisition Cost (as defined by the State): EAC

     • Wholesale Acquisition Cost: WAC

Arkansas

     Reimbursement for covered multiple source drugs shall not exceed the
     lowest of:

         1. FUL or MAC, plus a dispensing fee;

         2. Provider’s usual and customary charge; or
         3. EAC plus a dispensing fee

     Ark. Code R. Pharmacy § 251.000.

California

     Pharmacy providers are required to submit their usual and customary

     charge when billing Medi-Cal for prescription drugs. Usual and Customary

     means the lower of the following:

         1. The lowest price reimbursed to the pharmacy by other third party

         payors in California other than Medi-Cal managed care plans and

         Medicare Part D prescription drug plans; or

         2. The lowest price routinely offered to any segment of the general
         public.
     Welfare and Institutions Code (W&I Code) 14105.455




                                  12
 Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 13 of 47



Colorado

     Reimbursement for a prescription drug is made at the lesser of the

     provider’s usual and customary charge or the allowed ingredient cost

     plus a dispensing fee.

     10 CCCR. 2505-10 8.800



Florida

     Medicaid reimbursement for prescribed drugs is the lowest of:

           1. EAC (defined as the lesser of AWP minus 16.4% or WAC plus
           4.75%) plus a dispensing fee;

           2. FUL plus a dispensing fee;

           3. MAC plus a dispensing fee; or

           4. The amount billed by the pharmacy which cannot exceed the
           pharmacy’s usual and customary charge for the prescription (inclusive
           of any dispensing fee).

     Fla. Admin. Code 59G-4.251(1).

Louisiana

     Reimbursement for covered drugs is the lowest of:

           1. EAC plus a dispensing fee;
           2. FUL plus a dispensing fee;

           3. MAC plus a dispensing fee; or

           4. The usual and customary price.

     Louisiana Medicaid Program Provider Manual, Chapter 37, section 37.6.1.




                                    13
 Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 14 of 47



Montana

     Pharmaceuticals are reimbursed at the lesser of the following:

          1. EAC plus a dispensing fee;

          2. FUL plus a dispensing fee;

          3. MAC plus a dispensing fee; or

          4. The usual and customary charge.

     Mont. Admin. R. 37.86.1105(1).

Nevada

     Legend drugs are reimbursed at the lowest of:

          1. WAC plus 2% plus dispensing fee;

          2. FUL plus dispensing fee;

          3. MAC plus dispensing fee;

          4. The pharmacy’s usual and customary charge.

     Nevada Medicaid Pharmacy Manual, Section 5.2.

New Mexico

     Reimbursement is made at the lesser of the following:

          1. Provider’s billed charge must be its usual and customary charge for
          services.

          2. MAC plus a dispensing fee;

          3. FUL plus a dispensing fee; or
          4. EAC plus a dispensing fee.

     N.M. Code R. § 8.324.4.16.

Oregon

     Reimbursement for generic drugs is made at the lesser of the following:
                                   14
 Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 15 of 47



           1. Provider’s usual and customary charge; or

           2. EAC, minus applicable copayments, plus dispensing fee.

       Or. Admin. R. 410-121-0155(3).

Utah

       Pharmacy reimbursement is the lesser of:

           1. If there is a MAC then the lesser of it or the usual and customary
           charge to the general public;

           2. Otherwise, reimbursement is the lesser of the Ingredient Cost
           Submitted, FUL, EAC or the usual and customary charge to the general
           public.

       Utah Medical Assistance Program State Plan, attachment 4.19-B, section S.

Washington

       Pharmaceuticals are reimbursed at the lesser of the following:

           1. EAC plus a dispensing fee;

           2. Actual Acquisition Cost for § 340(b) drugs plus a dispensing fee;

           3. Automated maximum allowable cost plus a dispensing fee;

           4. The usual and customary charge to the non-Medicaid population;

           5. State MAC plus a dispensing fee; or
           6. FUL plus a dispensing fee.

       Wash. Admin. Code § 182-530-7000.

Wyoming

       Reimbursement for multiple source drugs is the lower of:

           1. Cost of the drug plus a dispensing fee; or
           2. The usual and customary charge.

       048-130-010 Wyo. Code R., CH. 10§ 16.

                                     15
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 16 of 47




       23.    Medicaid’s general-coverage parameters exclude items that are not

“provided economically and only when, and to the extent, medically necessary.”

42 U.S.C. § 1320c-5(a) (1). Albertsons does not obey the clear direction of the federal

law when it charges the government more than it charges the general public. The

Medicaid programs are not receiving an economically priced service; rather, the general

cash paying public is receiving the economically priced service.

             VI.    MEDICARE PART D USUAL & CUSTOMARY LAW

       24.    Medicare is a federally-funded health care insurance program created in 1965

by Title XVIII of the Social Security Act, and provides insurance coverage for people over

the age of 65 and people with disabilities. It is administered by the Centers for Medicare and

Medicaid Services (“CMS”), which is a division of the United States Department of

Health and Human Services (“HHS”).

       25.    Medicare services are also to be provided “economically.” 42 U.S.C.

§ 1320c-5(a)(1).

       26.    Medicare services are not to be “furnished substantially in excess of such

individual’s or entity’s usual charges.” 42 U.S.C. § 1320a-7(b)(6).

       27.    Medicare Part A pays for, inter alia, items and services provided to hospital

inpatients, home health care patients, and for patients of Skilled Nursing Facilities

(“SNFs”). A SNF provides skilled care to a patient after an injury or a hospital stay if the

patient meets certain conditions, and may be part of a nursing home or hospital. 42 U.S.C.

§§ 1395c, 1395d.



                                               16
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 17 of 47



       28.    Medicare Part B is a federal program that covers physician services and certain

injectable, inhalation and infused drugs administered by the health care provider. 42 U.S.C.

§§ 1395j, 1395k, 1395I.

       29.    Medicare Part C, also known as Medicare Advantage (“MA”), allows

Medicare Part A and B eligibles to pay premiums to a provider network and receive their

covered services through that network. The government pays the provider a monthly

capitated amount to provide Medicare Part A and Part B items and services to the enrolled

beneficiaries. 42 U.S.C. § 1395w-21 et seq. For an additional premium, most plans also

offer Medicare Part D outpatient drug coverage. Such plans are known as MA-PD plans. In

the case of an enrollee in an MA-PD plan, the MA organization also receives payment for

coverage of Part D prescription drug benefits, including: direct and reinsurance subsidy

payments for qualified prescription drug coverage, and reimbursement for the beneficiary

drug premium, and the cost sharing reductions applicable to low-income individuals

enrolled in the plan (Medicare Managed Care Manual: Chapter 8, Section 10). Whether

ultimately paid by the government directly or on a capitated basis, the government imposes

certain reporting requirements. Where the PDE data is submitted at higher than usual and

customary the cost to the government is increased over time.

       30.    Medicare Part D (“Part D”) began January 1, 2006 and pays for

prescription drug benefits for the elderly and disabled. 42 U.S.C. § 1395w-101 et seq.

Part D requires beneficiaries to enroll and pay certain premiums, deductibles, co-

payments, and in some cases 100% of drug costs after a certain dollar threshold up to a

maximum dollar amount (the “donut hole”), that then triggers catastrophic coverage. The

                                             17
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 18 of 47



federal government pays 75% of actual costs between the deductible and the donut hole,

and 95% of catastrophic coverage. For low-income individuals, there are various tiers in

which the government pays greater percentages, up to a 100% subsidy which may be

capitated.

       31.    Medicare Part D adopted Medicaid’s definition of “covered outpatient

drugs.” 42 U.S.C. § 1395W-102(e) and 42 C.F.R. 423.100, incorporating by reference

42 U.S.C. § 1396r-8(k)(2)(A)(i) (excluding coverage for drugs that are not FDA-

approved under section 505 of the Federal Food, Drug, and Cosmetic Act [codified at

21 U.S.C. § 355]).

       32.    The government also requires the Part D Sponsor to ensure that

network and mail order pharmacies provide the lower of the negotiated price or

the usual and customary price when a covered discount card drug for a negotiated

price is available at the point of sale. 68 Fed. Reg. 69840, 69862 (Dec. 15, 2003).

The Code of Federal Regulations and the Medicare Prescription Drug Benefit

Manual (Chapter 5, § 10.2, Benefits and Beneficiary Protections, Rev. 9/30/11)

define usual and customary price as “[t]he price that an out-of-network pharmacy

or a physician's office charges a customer who does not have any form of

prescription drug coverage for a covered Part D drug.” 42 C.F.R. § 423.100.

       33.    Unlike Medicaid, Medicare Part D is a quasi-free market model with a

more complex system for determining the price paid for outpatient drugs, and a more

complex system for submitting claims. Ultimately, however, it is still a per-item payment

system, and the federal government still pays for each drug purchased under the program.

                                            18
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 19 of 47



       34.    An individual is eligible to enroll in Part D if the individual lives in the

service area of a Part D plan and is entitled to Medicare benefits. Part D benefits are

provided by a Part D plan sponsor, which is either a prescription drug plan (PDP), a

Medicare Advantage organization that offers a Medicare Advantage prescription drug

plan (MA-PD plan), a PACE organization offering a PACE plan including qualified

prescription drug coverage, or a cost plan offering qualified prescription drug coverage.

42 C.F.R. § 423.4.

       35.    A Part D plan sponsor must submit a bid in the year prior to the calendar

year in which Part D benefits will actually be delivered. See 42 C.F.R § 423.265. The

bid contains a per member per month (PMPM) cost estimate for providing Part D

benefits to an average Medicare beneficiary in a particular geographic area. From the

sponsor’s bids, Centers for Medicare & Medicaid Services (CMS) calculates nationwide

and regional benchmarks which represent the average PMPM cost. If the plan sponsor’s

bid exceeds the benchmark, the enrolled beneficiary must pay the difference as part of

the monthly beneficiary premium.

       36.    CMS provides each Part D sponsor with a direct subsidy in the form of

advance monthly payments equal to the Part D plan's standardized bid, risk adjusted for

health status, minus the monthly beneficiary premium, estimated reinsurance subsidies

for catastrophic coverage, and estimated low-income subsidies. 42 C.F.R. §§ 423.315,

423.329.




                                              19
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 20 of 47



       The Prescription Drug Event Record (PDE) Constitutes a “Claim” For
       Payment as that Term is Used in the False Claims Act

       37.    When a pharmacy, like Albertsons, dispenses drugs to a Medicare

beneficiary, it submits a claim electronically to the beneficiary’s Part D plan and receives

reimbursement from the plan sponsor for the portion of the drug cost not paid by the

beneficiary. The Part D plan sponsor ultimately notifies CMS that a drug has been

purchased and dispensed by means of a document called a Prescription Drug Event

record (PDE); including the amount it has paid to the pharmacy. Part D plan sponsors

subcontract with many entities to provide drugs to the Medicare Part D beneficiaries

enrolled in their plans. These include subcontracts with pharmacy benefit managers

(PBMs) who provide drugs through mail order operations and pharmacy chains which

provide drugs on a retail level. CMS uses the information in the PDE at the end of the

payment year when it reconciles its advance payments to the sponsor with the actual costs

that the plan sponsor has incurred throughout the year.

       38.    The PDE is an electronically created document that includes 37 fields of

information about a specific drug transaction. This PDE document includes, inter alia, the

costs of the prescription, the payment date, the beneficiary I.D. number, the number of

medications, the dispensing status, the identity number of the retail pharmacy or other

provider like Albertsons, the National Drug Code (NDC) for the medication and the

compound code if the dispensed drug was compounded or mixed.

       39.    In the year following the benefit year, CMS reconciles a Part D plan

sponsor's actual prescription drug costs as derived from its PDE records against the


                                             20
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 21 of 47



sponsor's bid. If a Part D plan sponsor's actual costs exceed the estimated costs, the plan

sponsor may be able to recoup some of its losses through a risk sharing arrangement with

CMS. Conversely, if a Part D sponsor's estimated costs exceed its actual costs by a

specified amount, payments to the Part D plan sponsor for the year are reduced and the

plan sponsor will have to pay back some of its estimated payments. This risk sharing

arrangement between CMS and PDP plan sponsors clearly puts the government as

an intended beneficiary of discounted pricing. The government wrongfully pays

more if discounted pricing is not provided to each Medicare Part D recipient.

       40.    As a condition for receiving its monthly payment from CMS, a Part D

plan sponsor must certify the accuracy, completeness and truthfulness of all data

related to payment. Data related to payment includes enrollment information, claims

data, bid submission data and any other data specified by CMS. 42 C.F.R.

§ 423.505(k)(1). The Part D plan sponsor also certifies its acknowledgement “that the

claims data will be used for the purpose of obtaining Federal reimbursement.”

42 C.F.R. § 423.505(k)(3). If the claims data has been generated by a related entity,

contractor or subcontractor of a Part D plan sponsor, that entity, contractor or

subcontractor must “similarly certify” that the claims data it has generated is accurate,

complete and truthful and must acknowledge that the claims data will be used for the

purposes of obtaining federal reimbursement. 42 C.F.R. § 423.505(k)(3). Albertsons,

as a subcontractor, has these obligations. The term “claims data” referred to in

42 C.F.R. § 452.505(k)(3) includes PDE records. CMS recognizes that the submission

of “inaccurate or incomplete prescription drug event (PDE) data” may constitute

                                             21
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 22 of 47



Medicare Part D fraud, waste, or abuse. CMS Prescription Drug Benefit Manual,

Chapter 9 - Part D Program to Control Fraud, Waste, and Abuse,” 4/25/2006, page 56.

      41.    Medicare Part D plan sponsors must also certify, in their contracts with

CMS, that they agree to comply with all federal laws and regulations designed to prevent

fraud, waste, and abuse. 42 C.F.R. § 423.505(h)(1). CMS regulations require that all

subcontracts between Medicare Part D plan sponsors and downstream entities, including

pharmacies and PBMs, contain language obligating the pharmacy to comply with all

applicable federal laws, regulations, and CMS instructions. 42 C.F.R. § 423.505(i)(4)(iv).

It is very clear that the government expects complete compliance with all laws and

contract terms relating to Medicare Part D claims.

      42.    Most of the Medicare Part D PDE data elements are the same elements

developed by the NCPDP, which have been used for decades by PBMs, pharmacies, and

other providers when submitting Medicare Part D and Medicaid claims for prescription

drugs to CMS for payment. In its “Instructions: Requirements for Submitting

Prescription Drug Event Data,” dated 4/27/2006, at page 11, CMS stated: “Most data

elements represent existing NCPDP fields where we employ the same definition and field

values that are currently in use per the NCPDP version 5.1 drug claim standard.”

Medicare requires providers to submit prescription drug claims in compliance with the

NCPDP version 5.1 which was approved in September of 1999.

      43.    When CMS identified “Data Elements for PDE Records,” it clearly stated,

and all parties were on notice, that submission of PDE data is an express condition of

payment: “In this section, we list the required data elements that must be submitted on

                                            22
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 23 of 47



PDE records for payment . . . This section defines each data element and its specific

potential for use for CMS’s payment process.” Id.; see also id. at page 5 (“As a condition

of payment, all Part D plans must submit data and information necessary for CMS to

carry out payment provisions (§ 1860D-15(c)(1)(C) and (d)(2) of the Act and 42 CFR

§ 423.322).”).

       44.    CMS provided that the reporting requirements apply to all Part D Plans. Id.

Thus, CMS data reporting requirements and instructions apply to all Medicare Part D

Plans (PDPs), Medicare Advantage Part Plans (MA-PDs), and any other entity providing

Medicare Part D benefits.

       45.    Sponsors and their subcontractors, when submitting Medicare Part D PDE

data to CMS, must certify that all claims are true and accurate to the best of their

knowledge and belief. CMS Prescription Drug Benefit Manual, Chapter 9 - Part D

Program to Control Fraud, Waste, and Abuse, Section 80.1, p. 67 (citing 42 C.F.R.

§ 423.505(k)(3)).

       46.    Thus, CMS’s regulations for the submission of Medicare Part D PDE data

place the legal risk of submitting invalid Medicare Part D claims data squarely with the

submitting or generating entity: “CMS requires that any related entity, contractor or

subcontractor that generates claims data on behalf of a Sponsor must certify to CMS

the accuracy, completeness, and truthfulness of that data; and acknowledge that the

data will be used for purposes of obtaining Federal reimbursement.” See

“Prescription Drug Benefit Manual, Chapter 9 - Part D Program to Control Fraud, Waste,

and Abuse,” page 16, Section 40.2 (citing 42 C.F.R. § 423.505(k)(3)) (emphasis added).

                                             23
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 24 of 47



       47.    In keeping with the requirements of 42 C.F.R. § 423.405(k)(3) and CMS

Prescription Drug Benefit Manual, Chapter 9 - Part D Program to Control Fraud, Waste,

and Abuse, Section 80.1, p. 67, Sponsors and their subcontractors who submit Medicare

Part D PDE data to CMS must certify that it is true and accurate. Since January 2006, this

express certification of Medicare Part D PDE data has been included in CMS’s Electronic

Data Interchange (EDI) Agreement (or a similar document). The EDI Agreement must be

executed in order for an eligible organization to submit PDE data electronically to CMS.

The EDI is executed by Medicare Plans offering Part D prescription drug benefit and/or

the Part D PBMs who submit PDE data on behalf of Part D Sponsors. The certification

on the Part D EDI Agreement contains the following (or similar) language:

              “By signing below, the eligible organization certifies that
              each submission of PDE data pursuant to this Agreement
              will be accurate and complete to the eligible
              organization’s best knowledge, information and belief.”

       Medicare Part D Usual & Customary Pricing Restrictions

       48.    Like Medicaid, Medicare’s general coverage parameters exclude items that

are not “provided economically and only when, and to the extent, medically necessary,”

42 U.S.C. § 1320c-5(a)(1) (emphasis added). Albertsons does not follow the clear

direction of this statute, as in this case it is charging the government more than it charges

the general public. Medicare is not receiving an economically priced service; rather, the

general cash paying public is receiving the economically priced service.

         49. Medicare Part D prescriptions claims are subject to the similar type of Usual

& Customary (U&C) pricing laws and rules as are Medicaid prescriptions. If a provider’s


                                             24
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 25 of 47



usual price is lower than the Medicare contract price, the provider must provide that lower

price to Medicare or risk being excluded as a provider. 42 U.S.C. § 1320a-7(b)(6) provides

that the Secretary may exclude entities from participation in any federal health care

program for submitting claims for excessive charges. This section specifically provides

that excessive charges are grounds for exclusion as follows:

              Any individual or entity that the Secretary determines-

              (A) has submitted or caused to be submitted bills or requests
              for payment (where such bills or requests are based on
              charges or cost) under subchapter XVIII of this chapter or a
              State health care program containing charges (or, in
              applicable cases, requests for payment of costs) for items or
              services furnished substantially in excess of such individual’s
              or entity's usual charges . . . (emphasis added).

       50.    Medicare Part D prescriptions are also subject to U&C private contract

pricing terms and conditions imposed by the PDP sponsors and the PBM companies that

adjudicate and administer Medicare Part D Plans. These private contract pricing terms

accrue to the benefit of Medicare Part D by providing lower discounted U&C pricing to

Medicare. PBM companies have large networks of contracted pharmacies, both retail and

mail-order, to provide claims service to private and Medicare Part D patients.

       51.    Based on information and belief, and a sampling of PBM Medicare Part D

contracts with retailers, these contracts and Albertsons contracts with PBM companies

invariably require that a retail seller of prescriptions, like Albertsons, must price

prescriptions at the PBM contracted rate or their U&C price, whichever is lower. See

Exhibits 5-7 for representative PBM contracts. If the pharmacy is willing to sell a

prescription at the lower U&C price to its usual cash customers, it must also give that

                                              25
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 26 of 47



same lower price to Medicare Part D recipients and ultimately the government that pays

for them. It is very clear that the government expects complete compliance with all laws

and contract terms relating to Medicare Part D claims. Albertsons is one of the largest

pharmacy corporations in America with vast resources to enforce compliance with

Medicare Part D laws, rules and contract terms.

         VII.     TRICARE AND OTHER FEDERAL PAYER PROGRAMS

       52.      TRICARE (formerly also called CHAMPUS), administered by the United

States Department of Defense, is a healthcare program for individuals, dependants and

retirees affiliated with the armed forces. CHAMPVA, administered by the United States

Department of Veterans Affairs, is a healthcare program for the families of veterans with

100% service-connected disability.

       53.      The Federal Employee Health Benefit Program (“FEHBP”), administered

by the United States Office of Personnel and Management, provides health insurance for

federal employees, retirees, and survivors.

       54.      The federal government pays for the cost of the generic prescription drugs

at issue in this case, at United States Military Healthcare Facilities, the Indian Health

Service Facilities and to public health clinics.

       55.      The Tricare program is managed by Tricare Management Activity

(“TMA”) under the Department of Defense. Tricare contracts with Express Scripts, Inc.,

a PBM, to administer Tricare’s retail pharmacy benefits.

       56.      The Federal Circuit Court of Appeals has described how a drug claim is

processed between Tricare and Express Scripts:

                                              26
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 27 of 47



              The PBM is responsible for overseeing the distribution and
              payment for prescription drugs throughout the retail pharmacy
              network. When a TRICARE beneficiary purchases covered
              drugs at a network retail pharmacy, the pharmacy transmits
              data concerning the beneficiary to the PBM. The PBM then
              relays this beneficiary information to DOD and requests
              authorization to pay DOD's portion of the cost-share for the
              drugs to the network pharmacy. After receiving this
              information, DOD's Pharmacy Benefits Office checks
              beneficiary eligibility and potential drug interactions. DOD
              then authorizes the PBM to approve the transaction, accept
              the beneficiary's co-pay, and pay the pharmacy the difference
              between the beneficiary's co-pay and the retail price of the
              drugs. Most of this information exchange between the network
              pharmacy and the PBM occurs in ‘real time’ before the
              beneficiary's prescription is filled. However, DOD's payment
              to the pharmacy only occurs after a ten-day hold period.
Coalition for Common Sense in Gov't Procurement v. Sec’y of Veterans Affairs, 464 F.3d

1306, 1309-1310 (Fed. Cir. 2006).

       57.    The 2008 Tricare Reimbursement Manual states:

              TRICARE reimburses the allowable cost for covered
              pharmaceuticals and supplies less the applicable beneficiary
              deductibles and cost-shares and payments made by Other
              Health Insurance (OHI). . . . The TRICARE allowable cost
              will be the lesser of the usual and customary price or the
              maximum allowable cost (MAC) or [the] contractor’s
              contracted rate for ingredient cost.
Tricare Reimbursement Manual (2008), 6010.58-M, at Ch. 1 § 15.3.2.1 (emphasis

added). Albertsons’ billing practices that inflated pharmacy bills above the pharmacy’s

usual and customary charge defrauded Tricare when the usual and customary charge was

lower than the alternative charges in the Tricare reimbursement formula.

       58.    Albertsons’ submission of an inflated claim for reimbursement to the

administrator of the Tricare program, Express Scripts, was the equivalent of submitting

the claim to the United States, since Express Scripts acts as the agent for the United States


                                             27
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 28 of 47




in reimbursing Tricare claims with federal funds. In addition, when Albersons submitted

an inflated claim to Express Scripts, acting in its capacity as administrator of the Tricare

program, Albertsons caused Express Scripts to submit the claim to the United States

(DOD) for payment.

       59.    Albertsons has sold hundreds of thousands of prescriptions for the

medications at issue here to the federal government through the above-named healthcare

programs, including veterans, the military, federal employees and Native Americans.

Albertsons has also caused hundreds of thousands of generic-drug prescriptions to be sold

through these same healthcare services that were paid for by the federal government, with

the full knowledge of Albertsons. Albertsons has made or caused these sales knowing

that it is charging higher than its usual and customary prices as set by its cash customer

discount program for generic drugs. The above-named programs will hereinafter be

referred to as “government benefit programs.”

   VIII. DRUG DISCOUNT PROGRAMS & ALBERTSONS’S FRAUDULENT
                           ACTIONS

       60.    In 2006, Wal-Mart began a discount program for cash customers who

purchased prescription generic drugs. They priced these generic drugs at a flat $4 for

thirty doses, and $9 for ninety doses. This became Wal-Mart’s “Usual and Customary”

(U&C) price for those medicines. Wal-Mart correctly established its billing system so

that these discounted prices were transmitted as the Usual & Customary charge to

Medicaid, Medicare and other government benefit programs.




                                              28
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 29 of 47



       61.    Albertsons saw the popularity of Wal-Mart’s program for cash customers,

and reacted to meet the competition with its own cash customer discount program for

generics, marketing it initially as the “RxTra” program. Albertsons discontinued the

RxTra program sometime between August and October 2013, and began their current

MyRxCare savings program. Prior to MyRxCare, Albertsons was price matching

Walmart on the majority of claims and cash payments where the co-pay was more than

Walmart’s generic prices on multiple source generics. This included claims that were

billed to private sector plans. Where the co-pay was higher than the Walmart price match,

most of the time the claim was cashed out and price adjusted at the out-window.

       62.    The MyRxCare program is marketed and managed by Medical Security

Card Company, LLC (MSC, d/b/a ScriptSave), 4911 Broadway Boulevard, Tucson, AZ

85711. The program’s design is knowingly and fraudulently intended to circumvent the

“usual and customary” pricing laws of the Plaintiff-States.

       63.    The MyRxCare program is marketed as a comprehensive pharmacy

discount savings program that allows members to receive discounts on brand, generic,

OTC and pet prescriptions. Some of its features are as follows:

              • $3.99/$9.99 (up to 30-day supply/up to 90-day supply)
                on over 500 generic medications. Although not listed in
                its advertising of the program, Albertsons prices a 60-day
                supply of their 500 generic medications at $6.99;

              • Discount on all other prescriptions not included on the
                $3.99/$9.99 list;

              • Discount on all immunizations ($24.99 flu shot vs.
                $29.99 current price);



                                            29
            Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 30 of 47



                 • Upon pickup of first prescription member will be
                   rewarded with a valuable coupon savings book to be used
                   within the store;

                 • Membership/Enrollment is required: $11.99 annual fee.
                   Customers in Albertson’s stores in California,
                   Washington, and Utah, are exempt from the $11.99
                   enrollment fee;

                 • All members of the household, including pets, are
                   covered;

                 • Customers can enroll online or via brochure at the
                   pharmacy or enrollment table;

                 • Prescriptions and services paid for in whole or in part by
                   publicly funded health care programs, such as Medicare
                   and Medicaid, are ineligible;

                 • Prescriptions and services covered in whole or in part by
                   any private or publicly-funded health care program will
                   be processed through that insurance plan unless
                   specifically requested to process through the program;
                   and

                 • Prescriptions processed using MyRxCare will not count
                   towards a customer’s insurance deductible and cannot be
                   used to discount a customer’s co-pay.

See Exhibits 8, 9 and 10 which set out MyRxCare program features and program drug

listing.

           64.   Albertsons knowingly crafted its MyRxCare generic prescriptions cash

discount program in a transparent attempt to wrongfully to deprive the federal and state

governments of the discounted prices by using an enrollment and fee requirement. Other

MyRxCare program parameters were designed to attempt denial of usual and customary

benefits to Medicare, Medicaid and other government payer program customers




                                              30
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 31 of 47



       65.    Among its features the program requires an applicant to sign up and fill out

an application and to pay a $11.99 family fee. This fee is greatly offset by the substantial

discounts offered in the plan. In some cases, the purchase of one prescription may save

the customer 10 times the cost of the plan.

       66.    Albertsons pharmacists and pharmacy technicians were trained and

encouraged to sign up everyone on the MyRxCare discount program except government

payer customers, whether they had private insurance or not. By doing so Albertsons

established their Usual & Customary as the MyRxCare discount price, because nearly all

prescriptions not paid for by private insurance or Medicare or Medicaid were being

processed under the MyRxCare program. Relator saw that if anyone was subject to a

cash price, they were signed up on the MyRxCare program and received that price, thus

establishing that the MyRxCare price is Albertsons’s U&C price.

       67.    Albertsons also misrepresents the position of the federal government, when

it claims: “Note: Prescriptions and services paid for in whole or in part by publicly

funded health care programs, such as Medicare and Medicaid, are ineligible.” The

government says the opposite in a consumer internet Medicare bulletin put out by the

Department of Health and Human Services (HHS) on November 28, 2006. In this

bulletin the department explains how to use Drug Discount Cards in conjunction with

Medicare. See Exhibit 11. This bulletin came out about one year after Medicare Part D

began and years before Albertsons started to market their MyRxCare program.

       68.    State Medicaid agencies are generally unaware of this fraudulent

overbilling scheme related to the “Usual and Customary” price on generic drugs. Their

                                              31
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 32 of 47



computerized billing systems and oversight programs are not designed to ferret out this

U&C discrepancy fraud.

       69.    Attached as Exhibit 9 is the current internet offering of Albertsons on its

MyRxCare discount program.

               IX.     RELATOR’S KNOWLEDGE OF THE FRAUD

       70.    Relator started her employment with Albertsons on January 7, 2013 and

worked for them as a pharmacist until she left that employment in June 2015.

       71.    Relator witnessed the introduction of MyRxCare in 2013, and was

instructed by documents and program rules that it was against federal and state statutes to

sign up any person receiving Medicaid, Medicare or any government payer plan, on the

MyRxCare program.

       72.    Relator has personal experience, involving the Albertsons pharmacy

computer system called ARx which, on information and belief, is used by all Albertsons

pharmacies nationwide. This system has been programmed so that the pharmacists or

technicians at the individual pharmacy level cannot modify the amounts that the

government programs are billed. Relator has personally viewed government plan

customers being charged more than Albertsons’s MyRxCare price.

       73.    Relator’s personal experience confirms that virtually no customer in an

Albertsons pharmacy pays the cash price. Either people are on private insurance or

government plans like Medicare or Medicaid or they are put on the MyRxCare program.

Albertsons trains and urges all pharmacy employees to sign up every customer who is not



                                             32
          Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 33 of 47



on a government program, onto the MyRxCare discount program. This activity clearly

establishes that the usual and customary price (U&C) is the MyRxCare price.

       74.    Relator observed that Albertsons pharmacists and technicians are powerless

to rectify the situation by providing beneficiaries of the government payer programs with

the lower MyRxCare discounted prices for the generic drugs. Albertsons has set up its

computerized billing system so that the Albertsons pharmacists and technicians at the

retail level can do nothing about this overbilling, even if they are aware of it. Albertsons

pharmacists and technicians are prohibited from overriding price, and/or changing prices

to give government payer programs the MyRxCare discount pricing. Relator alerted

Albertsons to this fraud with emails to corporate compliance officers, phone calls to the

compliance hotline, and interviews at the corporate headquarters. When Relator

complained to Albertsons management that MyRxCare was overbilling the government

she was chastised, accused of withholding information and non-cooperation, reprimanded

and bullied by Daniel Day, Albertsons’ Chief Compliance Officer and ordered to make

her complaints through a non-functioning hotline. Albertsons then closed the lines of

communication required by 42 CFR 422.503(b)(4)(vi)(D) in a certified letter to the

Relator from the VP of Compliance.

     X.      PARTICULARITY OF ALBERTSONS ILLEGAL OVERBILLING

       Medicaid Overbilling Samples

       75.    This overcharging and failure to provide discount pricing to Medicaid is

robust and pervasive. In a very short period of time Relator randomly examined 16

Albertsons’ prescription records that were billed to Idaho Medicaid or contractor

                                             33
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 34 of 47



pharmacy benefit managers (PBM) adjudicating claims for Idaho Medicaid and

discovered that 15 of the 16 prescriptions were billed and paid at higher rates than the

discounted MyRxCare program prices.

       76.    Exhibit 11 is a summary spreadsheet of these prescriptions showing the

prescription number assigned by the Albertsons ARx pharmacy computer system, the

date filled, doctor’s name, plan identifier, name of drug, quantity, the amount paid by

Medicaid, MyRxCare price and overcharge amount.

       77.    Exhibit 11 clearly shows that for just 15 prescriptions the government was

charged $123.37 ($7.71 per prescription) more than if these patients were allowed to

participate in the MyRxCare program. These prescription records were randomly

selected out of just 12 days of business in January, February, and July of 2015 at several

Albertsons pharmacies in the state of Idaho and represent only a fraction of all of the

prescriptions filled for Idaho Medicaid on those days.

       Medicare Part D Overbilling

       78.    Just like the overbilling to Medicaid, this overcharging and failure to

provide discount pricing to Medicare is just as robust and pervasive. In a very short

period of time Relator randomly examined 31 prescription records that were billed to

various Medicare Part D plans, or contractor pharmacy benefit managers (PBM)

adjudicating claims for Medicare Part D plans, and discovered that all 31 prescriptions

were billed and paid at higher rates than the discounted MyRxCare program prices.

       79.    Exhibit 12 is a summary spreadsheet of these prescriptions, showing the

prescription number assigned by the Albertsons ARx pharmacy computer system, the

                                             34
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 35 of 47



date filled and billed, patient’s initials, doctor’s name, Part D Plan, drug name, quantity,

amount paid by Medicare Part D, the MyRxCare price, and the overcharge amount.

       80.    Exhibit 12 clearly shows that for just 31 prescriptions the government was

charged $83.98 ($2.70 per prescription) more than if these patients were allowed to

participate in the MyRxCare program. These prescription records were randomly

selected over just 15 days of business in December 2014 and July 2015 at several

Albertsons pharmacies in Idaho and represent only a fraction of all of the prescriptions

filled by Albertsons in Idaho for Medicare Part D on those days.

       Tricare Overbilling

       81.    Just like the overbilling to Medicaid and Medicare, Albertsons has

overbilled Tricare. At store number 165 in Mountain Home, Idaho, Relator served many

Air Force Tricare patients regularly, where she saw overbilling to Tricare on multiple

source generics. The lower U&C price of the MyRxCare program was not given to

Tricare customers. In fact, Relator was working at this store regularly at the time when

MyRxCare rolled out and she saw the discrepancies from U&C costs frequently. Relator

also observed overbilling of flu shots and Zostavax where the government overpaid a

$20.00 and $35.00 administration fee, respectively.

       82.    Exhibit 13 is a spreadsheet of actual overbilled Tricare prescription records,

randomly selected, showing the date filled and billed, doctor’s name, Tricare plan, drug

name, quantity, amount paid by Tricare, and the overcharge amount.

       83.    These prescription records were randomly selected over just 15 days of

business in July 2014 at several Albertsons pharmacies in Idaho and represent only a

                                             35
           Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 36 of 47



fraction of all of the prescriptions filled by Albertsons in Idaho for Tricare on those days.

All of these prescriptions were billed and paid at higher rates than the discounted

MyRxCare program prices, the true U&C prices.

                                          COUNT I

                       Violations of the Federal False Claims Act
                     Medicaid, Tricare and Other Federal Programs

          84.   Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

          85.   This Count is brought by Relator in the name of the United States against

Albertsons under the qui tam provisions of 31 U.S.C. § 3729 et seq. Albertsons violated

31 U.S.C. § 3729(a)(l)(A) and the prior version of this clause, by knowingly presenting

false claims to the United States, in respect to the portions of Medicaid, Tricare,

CHAMPVA, FEHBP, United States Military Healthcare Facilities, the Indian Health

Service Facilities and to public health clinics claims paid by the federal government.

Albertsons also violated 31 U.S.C. § 3729(a)(1)(B) and the prior version of this clause,

by knowingly making, using or causing to be made or used, false records or statements

material to a false or fraudulent claim, in the form of electronic submissions to the

Medicaid, Tricare, CHAMPVA, FEHBP, United States Military Healthcare Facilities, the

Indian Health Service Facilities and to public health clinics programs that represented

prices for prescription drugs that were not truly the less expensive usual and customary

prices.




                                              36
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 37 of 47



       86.     The United States, unaware of the falsity of the records, statements and

claims made or caused to be made by Albertsons paid and continues to pay Medicaid,

Tricare and the said other government program claims that would not be paid but for

Albertsons’ unlawful conduct.

       87.     As a result, Plaintiff United States has paid since 2013 and continues to pay

Albertsons millions of dollars in illegal overpayments under the Medicaid, Tricare, and

other said government programs.

                                         COUNT II

                          Violations of the Federal False Claims Act
                           Medicare Part D and MA-PD Programs

       88.     Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

       89.     Albertsons has systematically overbilled the Medicare Part D and MA-PD

system since 2013. The foundation of this illegal overbilling was and is the knowing

refusal to charge the lower usual and customary price for hundreds of generic and name

brand drugs at their retail pharmacy outlets. Its illegal overbillings also cause higher risk-

sharing and reconciliation payments for its Sponsor corporations that are based upon the

inflated U&C billings. Also, Albertsons through its retail outlets knowingly ignored the

requirement to provide the U&C lower prices required by the clear contract terms of

PBMs and sponsors. The false or fraudulent claims and statements were and continue to

be material to the United States paying higher than the legal usual and customary price




                                             37
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 38 of 47



for the prescription drugs on the Medicare programs, as the claims would not be paid but

for Albertsons’ unlawful conduct.

       90.    Since 2013, by its conduct described above in the Medicare Part D and

MA-PD systems, Albertsons knowingly presented or caused to be presented false and/or

fraudulent claims in violation of the Federal Civil False Claims Act, 31 U.S.C.

§ 3729(a)(1)(A) and the prior version of that statutory clause. It also knowingly misled

the federal government, by its billings, contracts language and other representations in

regard to the benefit of U&C pricing, when Albertsons knew it was not providing that

benefit on millions of claims.

       91.    Also in the Medicare Part D and MA-PD systems, since 2013, Albertsons

and their subsidiaries, and/or their agents, predecessors, successors, and employees

knowingly made or used and caused to be made and used false records or statements in

violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B) and the prior version of that

statutory clause. These records and statements were and are material to the federal

government making wrongfully excessive payment for the prescription drugs at issue

under the Medicare Part D and MA-PD systems.

       92.    The false records or statements knowingly made, used or caused to be made

or used by Albertsons in the Medicare Part D billings, in violation of § 3729(a)(1)(B),

include but are not limited to electronic transmissions of billing statements made by

Albertsons for the identified prescription drugs. All of these billings were and continue

to be claims that are subject to the $5,500 to $11,000 per claim penalty under the False

Claims Act.

                                            38
        Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 39 of 47



       93.      Further records or statements violating § 3729(a)(1)(B) made by Albertsons

include, but are not limited to: the contracts it entered as retail outlets, in the Medicare

Part D and MA-PD systems, whether between its own subsidiaries or between one of its

subsidiaries and other companies’ retail outlets.

       94.      As a direct result, federal Medicare Part D and MA-PD systems have been

caused and continue to overpay Albertsons on at least:

             a. false or fraudulent claims related to Part D and MA-PD prescription drugs
                that would not have been paid but for Albertsons’ knowingly illegal,
                improper, and reckless business practices;

             b. increased subsidies to Medicare Part D and MA-PD Plan Sponsors,
                including but not limited to Medicare Part D Plan sponsors, through: direct
                advance monthly payments; reinsurance subsidies; low-income cost-sharing
                subsidies (or grants for low-income Part D individuals received in lieu of
                low-income subsidies); risk-sharing arrangements; year-end retroactive
                adjustments and reconciliations; and/or reinsurance payments made for
                private fee-for-service plans; and

             c. contracts with Albertsons as providers of Part D and MA-PD services,
                whether as a downstream entity, including but not limited to CMS’s
                Electronic Data Interchange (“EDI”) Agreement, and/or other agreements
                which are necessary for Part D providers to submit claims or data to CMS
                and/or to receive payments related to the Medicare Part D program.

       95.      Albertsons utilizes an automated nationwide claims adjudication system in

all States where Albertsons provides prescription services, and, as a result, Albertsons’

illegal and improper practices have caused the federal government to pay false or

fraudulent claims throughout the United States under the Medicare Part D and MA-PD

systems.

       96.      As a direct and foreseeable result of Albertsons’ above described illegal

practices, the federal Medicare Part D and MA-PD systems have overpaid Albertsons

                                              39
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 40 of 47



multiple millions of dollars, and continue to wrongfully overpay Albertsons. This is the

ultimate effect of Albertsons retail overpricing, even though the excessive billings get

passed through Sponsors and PBMs of the Medicare Part D and MA-PD systems.

                                        COUNT III

                                California False Claims Act
                          Cal. Government Code §§ 12650-12655

       97.     Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

       98.     This is a claim against Albertsons for treble damages and penalties on

behalf of the State of California under the California False Claims Act, California

Government Code §§ 12650-12655.

       99.     By virtue of the above-described acts, Albertsons did knowingly

overcharge the California Medicaid program for prescription drugs, in violation of

California Code § 12651(a)(1) and (2). Albertsons knowingly caused false claims to be

presented to the California Medicaid program, known as Medi-Cal, by illegally charging

higher than its usual and customary prices. Albertsons also knowingly made, used or

caused to be made or used false records or statements material to a false or fraudulent

claim, in the form of electronic submissions to the Medi-Cal program that represented

prices for the prescription drugs that were not truly the less expensive usual and

customary prices.




                                             40
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 41 of 47



                                        COUNT IV

                         Colorado Medical False Claims Act
           Violation of Colorado Revised Statutes 25.5-4-303.5 to 25.5-4.309

       100.    Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

       101.    This is a claim against Albertsons for treble damages and penalties on

behalf of the State of Colorado under the Colorado False Claims Act, Violation of

Colorado Revised Statutes 25.5-4-303.5 to 25.5-4.309.

       102.    By virtue of the above-described acts, among others, Albertsons did

knowingly overcharge the Colorado Medicaid program for prescription drugs, in

violation of Colorado Revised Statutes 25.5-4-303.5 to 25.5-4.309. Albertsons violated

Colorado Revised Statutes 25.5-4-305(1)(a) by knowingly causing false claims to be

presented to the Colorado Medicaid program, by illegally charging higher than its usual

and customary prices. Albertsons also violated Colorado Revised Statutes 25.5-4-

305(1)(b) by knowingly making, using or causing to be made or used false records or

statements material to a false or fraudulent claim, in the form of electronic submissions to

the Medicaid program that represented prices for the prescription drugs that were not

truly the less expensive usual and customary prices.

                                        COUNT V

                                Florida False Claims Act
                                Fl. Stat. § 68.081-68.090

       103.    Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

                                             41
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 42 of 47



       104.    This is a claim against Albertsons for treble damages and penalties on

behalf of the State of Florida under the Florida False Claims Act, violation of Fl. Stat.

§ 68.081-68.090.

       105.    By virtue of the above-described acts, among others, Albertsons did

knowingly overcharge the Florida Medicaid program for prescription drugs, in violation

of Fl. Stat. § 68.081-68.090. Albertsons knowingly caused false claims to be presented to

the Florida Medicaid program, by illegally charging higher than its usual and customary

prices in violation of Fl. Stat. § 68.082(2)(a). Albertsons also knowingly made, used or

caused to be made or used false records or statements material to a false or fraudulent

claim, in the form of electronic submissions to the Medicaid program that represented

prices for the prescription drugs that were not truly the less expensive usual and

customary prices, in violation of Fl. Stat.§ 68.082(2)(b).

                                        COUNT VI

                   Louisiana Medical Assistance Programs Integrity Law
                            Louisiana Rev. Stat. 46 § 437 et seq.

       106.    Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

       107.    This is a claim against Albertsons for treble damages and penalties on

behalf of the State of Louisiana under the Louisiana Rev. Stat. 46 § 437 et. seq.

       108.    By virtue of the above-described acts, among others, Albertsons did

knowingly overcharge the Louisiana Medicaid program for prescription drugs, in

violation of Louisiana Rev. Stat. 46 § 437 et. seq. Albertsons knowingly caused false


                                             42
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 43 of 47



claims to be presented to the Louisiana Medicaid program, by illegally charging higher

than its usual and customary prices in violation of Louisiana Rev. Stat. 46 § 438.3(A).

Albertsons also knowingly made, used or caused to be made or used false records or

statements material to a false or fraudulent claim, in the form of electronic submissions to

the Medicaid program that represented prices for the prescription drugs that were not

truly the less expensive usual and customary prices, in violation of Louisiana Rev.

Stat. 46 § 438.3(B).

                                        COUNT VII

                          Violation of the Montana False Claims Act
                          MONT. CODE ANN. § 17-8-401 - 17-8-416

       109.    Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

       110.    This is a claim against Albertsons for treble damages and penalties on

behalf of the State of Montana under the Montana False Claims Act, Mont. Code Ann.

§ 17-8-401 through 17.8-416.

       111.    By virtue of the above-described acts, among others, Albertsons did

knowingly overcharge the Montana Medicaid program for prescription drugs, in violation

of Mont. Code Ann. § 17-8-401 through 17.8-416. Albertsons knowingly caused false

claims to be presented to the Montana Medicaid program, by illegally charging higher

than its usual and customary prices in violation of Mont. Code Ann. § 17-8-403(1)(a).

Albertsons also knowingly made, used or caused to be made or used false records or

statements material to a false or fraudulent claim, in the form of electronic submissions to


                                             43
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 44 of 47



the Medicaid program that represented prices for the prescription drugs that were not

truly the less expensive usual and customary prices, in violation of Mont. Code Ann.

§ 17-8-403(1)(b).

                                       COUNT VIII

                                Nevada False Claims Act
                          NEV. REV. STAT. ANN. § 357.010-.250

       112.    Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

       113.    This is a claim against Albertsons for treble damages and penalties on

behalf of the State of Nevada under the Nevada False Claims Act, violation of Nevada

Rev. Stat. Ann. § 357.01-.250.

       114.    By virtue of the above-described acts, among others, Albertsons did

knowingly overcharge the Nevada Medicaid program for prescription drugs, in violation

of Nevada Rev. Stat. Ann. § 357.01-.250. Albertsons knowingly caused false claims to be

presented to the Nevada Medicaid program, by illegally charging higher than its usual

and customary prices in violation of NRS § 357.040 1(a). Albertsons also knowingly

made, used or caused to be made or used false records or statements material to a false or

fraudulent claim, in the form of electronic submissions to the Medicaid program that

represented prices for the prescription drugs that were not truly the less expensive usual

and customary prices, in violation of NRS §357.040 1(b).




                                             44
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 45 of 47



                                       COUNT IX

                          New Mexico Medicaid False Claims Act,
                           N.M. STAT. ANN. § 27-14-1- 27-14-15

        115.   Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

        116.   This is a claim against Albertsons for treble damages and penalties on

behalf of the State of New Mexico under the New Mexico False Claims Act, N.M. Stat.

Ann. § 27-14-1 - 27-14-15.

        117.   By virtue of the above-described acts, among others, Albertsons did

knowingly overcharge the New Mexico Medicaid program for prescription drugs, in

violation of N.M. Stat. Ann. § 27-14-1 - 27-14-15. Albertsons knowingly caused false

claims to be presented to the New Mexico Medicaid program, by illegally charging

higher than its usual and customary prices in violation of NM Stat. § 27-14-4(A).

Albertsons also knowingly made, used or caused to be made or used false records or

statements material to a false or fraudulent claim, in the form of electronic submissions to

the Medicaid program that represented prices for the prescription drugs that were not

truly the less expensive usual and customary prices, in violation of NM Stat. § 27-14-

4(C).

                                        COUNT X

                  Washington State Medicaid Fraud False Claims Act
                            RCW § 74.66.005-74.66.130

        118.   Relator incorporates by reference and re-alleges all above paragraphs as if

fully set forth herein.

                                             45
         Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 46 of 47



       119.   This is a claim against Albertsons for treble damages and penalties on

behalf of the State of Washington under the Washington State Medicaid Fraud False

Claims Act, RCW § 74.66.005-74.66.130.

       120.   By virtue of the above-described acts, among others, Albertsons did

knowingly overcharge the Washington Medicaid program for prescription drugs, in

violation of Washington RCW § 74.66.005-74.66.130. Albertsons knowingly caused

false claims to be presented to the Washington Medicaid program, by illegally charging

higher than its usual and customary prices in violation of RCW § 74.66.020(1)(a).

Albertsons also knowingly made, used or caused to be made or used false records or

statements material to a false or fraudulent claim, in the form of electronic submissions to

the Medicaid program that represented prices for the prescription drugs that were not

truly the less expensive usual and customary prices, in violation of RCW

§ 74.66.020(1)(b)

                                  PRAYER FOR RELIEF

       121.   Pursuant to the federal False Claims Act, the United States and Relator

request treble damages, a penalty of $5,500 to $11,000 per claim, and all attorneys’ fees,

expenses, and costs allowed under the Act against Albertsons.

       122.   Pursuant to the false claim acts of the states, the states and Relator request

treble damages, all per-claim penalties, and attorneys’ fees, expenses, and costs against

Albertsons.

       123.   Relator requests an appropriate share of the recoveries for the United States

and all of the Plaintiff-states pursuant to their respective false claims acts.

                                              46
       Case 5:15-cv-00957-XR Document 23 Filed 06/20/17 Page 47 of 47



                                  JURY DEMAND

      Relator demands trial by jury on all claims.

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                                           47
